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Penny Sandhu
UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY
KASHMIR GILL,
CIVIL ACTION NO.: 3:19-cv-06742
Plaintiff, FLW-TJB
Vv. FILED ELECTRONICALLY
RETURN DATE: July 1, 2019
JUS BROADCASTING CORP.,
JUS PUNJABI, LLC, JUS ONE
CORP., JUS BROADCASTING REPLY DECLARATION OF
CORP. PVT LTD. and PENNY PENNY K. SANDHU
SANDHU
Defendants.

 

 

PENNY K. SANDHU declares under penalty of perjury as follows:

1. I am the only individual defendant named in this action. As in my
main underlying declaration, | submit this reply declaration in support of defendants’
motion to dismiss this action on jurisdictional grounds under Fed. R. Civ. P. 12(b)(2) and
improper venue grounds under Fed. R. Civ. P. 12(b)(3). Except as otherwise specifically

indicated, I have personal knowledge of the facts set forth in this reply declaration.
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Introduction and Summary

2. In the interests of brevity, I will not repeat the essential factual points
contained in my main declaration that reveal that neither the defendant entities I own and
control nor I are subject to the jurisdiction of this Court. I do emphasize, however, that
plaintiff Kashmir Gill (“Gill”) does not dispute that Jus Punjabi — the name by which my
satellite broadcasting system is known throughout the United States, Canada, the United
Kingdom, India and elsewhere — has always maintained its executive offices, broadcasting
facilities, and staff in New York and never in New Jersey.

The Errors of the Gill Opposition

A. The Lakhvinder Singh Documents

3. In an obvious effort to divert the Court’s attention from the
jurisdictional and venue issues raised by this motion, Gill’s papers (see Affidavit of
Kashmir Gill filed May 20, 2019 (“Gill Aff.”)) focus primarily on extraneous material and
persons. For example, Gill devotes a great deal of attention to dealings in which Lakhvinder
Singh (“Singh”), Parveen Gujral (“Gujral”) — who is Singh’s wife — and I engaged
approximately 13 years ago. Significantly, Singh and Gujral were residents of New York
with no connection to New Jersey. The transactions among them, Jus Punjabi and myself
were all negotiated in and took place in New York, and Gill had nothing to do with these
matters.

4, One of the centerpieces of Gill’s papers is Exhibit B to his affidavit.
The exhibit is a copy of an approximately 25-page document entitled “Operating

Agreement of Jus Punjabi, LLC” dated September 20, 2006 — in other words,
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approximately thirteen years ago. This was also approximately four or five years before I
ever met Gill.

5, There are several crucial points about this 2006 document and Gill’s
extensive references to the document. First, the document itself contains no references to
Gill or any person or entity associated with him. Second, the document is devoid of
references to New Jersey for the simple reason that it was negotiated and executed in New
York. Third, the only people who signed the document — myself under my original name
Pawanjit Yogiraj — and Gujral were residents of New York, not New Jersey.

6. Even more important, the September 2006 document to which Gill
devotes so much attention was wholly terminated by 2008, when I re-acquired the entire
interest in Jus Punjabi. I had always retained, even during my dealings with Singh and
Gujral, the overwhelming majority ownership interest in Jus Punjabi and my management
and control were always complete.

7. In a similar effort to distract from the real issues, Gill introduces the
name Karl Khandalawala (“Khandalawala”). Any interest Khandalawala may have had in
Jus Punjabi terminated years ago and he has not been an executive, employee, minority
owner or manager of Jus Punjabi in years. And, as was the case with Singh and Gujral,
Khandalawala was a New York resident and any transactions involving him took place in

New York.!

 

! Tt merits re-emphasis that af all times since my envisioning and establishing Jus Punjabi in 2005-
2007 I have been the founder, leader and manager of the networks. Despite his bizarre claims of
“ownership,” Gill never received a share certificate, membership certificate or any written
partnership or other document. He was never a “partner” nor an “owner.” To the extent that Gujral,
Khandalawala or anyone else may have temporarily had minority shares or minority interests, that

never had any bearing on Gill.
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B. The “Dollar Bill” Incident

8. In an extraordinary effort to somehow advance his position, Gill
annexes, as Exhibit D to his affidavit, a copy of a one dollar bill with the words
“{p]artnership for life” which he claims I signed. It appears to bear the date March 4, 2013.
I have no memory of this enigmatic dollar bill and no way to begin to understand why Gill,
who was married at the time and still is, would have kept it for six years, assuming for a
moment that it is genuine.

9, In any event, the handwriting on the one dollar bill never resulted in a
“partnership for life.” Whatever the words may have signified (if anything), Gill never
received a partnership agreement, nor, for that matter, did he ever receive, as I have
repeatedly emphasized, a corporate share certificate, a membership certificate in a limited
liability entity, a loan agreement or any document that would support his assertion that he
somehow “owns” a significant portion of Jus Punjabi or for that matter any interest in Jus
Punjabi.
Ci The Emails

10. Gill also annexes to his affidavit a single page email exchange (see
Gill Aff., Exhibit D). The exchange is dated August 25, 2016, as reflected on an email from
me to Gill, and September 2, 2016, as reflected in an email from Gill to me.

11. In reality, the genesis of this short email chain was that it was Gill
who requested that I provide him with an email so that, as he explained it at the time, he
and his accountants could resolve Gil//l’s tax issues with the Internal Revenue Service in

Gill’s favor.
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12. _ Interestingly, Gill writes in his September 2, 2016 email to me that he
“never received any documentation to that effect” (see Gill Aff., Exhibit D, emphasis
added). That is a reference to the fact that he never received a stock certificate or any
document that purported to reflect that Gill was my “partner” or that he was ever a
“shareholder.”

D. Other Matters
(i) Travel

13. Gill makes several references to my driving to New Jersey over the
course of a multiple-year period. Of course, I have at times over a period of several decades
driven for short trips to New Jersey. On a few of those occasions I did meet with Gill. He
resided in New Jersey and it is in New Jersey that he and his brother owned and operated
a huge oil and fuel distribution business.

14. In contrast, Gill, in the eight or nine years that I have known him, has
driven to Jus Punjabi’s offices in New York hundreds of times. He has most often arrived
unannounced and uninvited. He has consumed many hours of my and my staffs time with
any and all conversations he has wanted to have.

15. Indeed, Gill’s visits to Jus Punjabi’s office in New York have largely
given the impression that he is stalking me. Gill has made it clear that, like a spy, he has a
penchant for secretly recording conversations with me and others, both in personal and
professional settings.

16. In fact, Ihave in my possession a pen belonging to Gill that is in reality

a recording device which he left in my office on May 31, 2018. On that day, Gill, as he
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repeatedly did, arrived at my office unannounced, and proceeded to converse with me in
an unusual manner. He repeatedly made statements regarding supposed business issues,
and obviously was goading me in an unsuccessful attempt to confirm his untrue statements.

17. Because of his bizarre conduct and his own fabricated statements, I
flatly asked him if he was recording the conversation. He vehemently denied it but seemed
flustered. Unconvinced, I asked Gill if I could check the laptop bag he had brought with
him to confirm his claim that he was not recording the conversation.

18. I did examine Gill’s laptop bag which he had brought to my office. In
fact, as I saw, Gill’s bag contained not one but three separate recording devices, one of
which was disguised as a writing pen.

19. All three devices in Gill’s bag were switched on and functioning
throughout his May 31, 2018 conversation with me. To confirm this, I took one of the
devices and attempted to play the recording on my computer.

20. At this point, Gill became visibly angry and volatile and lunged at me
in a threatening manner to grab the device before I could play it. Concerned for my personal
safety, I immediately pulled back from the computer but held firmly to the recording
device. At this point, continuously concerned for my safety, I phoned one of Jus Punjabi’s
engineers and asked him to come to my office.

21. The engineer assisted me in confirming that not only was the device
actively recording the conversation but identifying the actual audio file for the recording.

22. After the engineer left my office, Gill once again lunged at me to

physically wrestle the device from my hands. I retreated from him and loudly insisted he
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back off. At this point, Gill did step back, changing his demeanor from physically
threaterning and angry to distressed and remorseful.

23. In a confession of his misconduct and shame, Gill admitted not only
that he was recording me in this meeting but also had done so in several instances in the
past.

24. Moreover, he admitted that he was in the habit of secretly recording
conversations with many other people in his business and personal encounters.

25. At this point in our May 31, 2018 meeting, I personally barred Gill
from ever coming to my office or Jus Punjabi again.

26. After this very disturbing incident, I attended a conference in the
Manhattan office of my personal attorney of many years, Paul Batista. Also present at the
conference were Gill and his attorney, Alan Ackerman. I was present when Ackerman
instructed Gill not to have any further contact with me or anyone associated with me and
not to enter Jus Punjabi’s offices.

27. Despite the warnings he received from his own lawyer — warnings
which I heard in full and by which Gill said he would abide — Gill has continued his
obsession with me and people close to me. Among other things, several employees of Jus
Punjabi have observed Gill sitting for long periods of time in his car on a street immediately
adjacent to Jus Punjabi’s offices in Long Island City.

28. Even more disturbing to me is that even after Gill’s own lawyer in my
presence admonished Gill to stay away from me, Gill has continued to call my adult

daughter to persuade me to reconsider barring Gill from my life.
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29. All of this leads me to conclude that this ludicrous and frivolous
lawsuit is yet another pathetic attempt by Gill to gain my personal attention and to impinge
on my personal and professional life.

(ii) Advertising

30. As a_ satellite broadcasting network, Jus Punjabi provides
programming throughout the United States, as well as in Canada and the United Kingdom.

31. As is the case with any business, particularly one in the media
industry, it is obvious that Jus Punjabi requires revenue to operate and grow. For that
reason, Jus Punjabi has business relationships with advertisers and attempts to solicit
advertisers to establish and maintain business relations. (The other principal source of
revenue for satellite operations such as Jus Punjabi consists of subscriptions from viewers.)

52. Although Gill’s papers refer to New Jersey-based advertisers, neither
Gill nor his attorney provides any specific or credible information other than to claim that
Jus Punjabi has had some advertisers in New Jersey.

33. In fact, Jus Punjabi solicits advertisers from every state in the nation.
Crucially, the most recently available information discloses that only 3.57% of Jus
Punjabi’s current advertisers are located in New Jersey, and those advertisers represent
only a minimal amount of Jus Punjabi’s total advertising revenue.

34. Jus Punjabi has a staff that devotes itself to contacting any and all
potential advertisers in the United States, Canada, the United Kingdom and elsewhere.

35.  Asto the subscriber base, it is impossible for Jus Punjabi to know how

many viewers subscribe to its programming or where any of them is located. This is
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Punjabi's current advertisers are located in New Jersey, and those advertisers represent
only a minimal amount of Jus Punjabi's total advertising revenue

34. Jus Punjabi has a staff that devotes itself to contactiny any and all
potential advertisers in the United States, Canada, the United Kingdom and elsewhere.

38. As to the subscriber base. it is impossible for Jus Punjabi to know
how many viewers subseribe to its programming or where any of them is located This is
because the satelite broadcasting industry is structured in such a way that only the
satellite distribution companies, such as DISH and Spectrum, know who the subseribers
are and where they are located and the subscribers pay entities such as DIST] and
Spectrum. Those companies do not share information about their customers with Jus
Punjabi or any other producer, Moreover, Jus Punjabi does not structure any of its
programming to appeal to New Jersey audiences.

Conclusion
36 For all the foregoing reasons, | respectfully request that defendants’

motions to dismiss on jurisdictional and venue grounds be granted

] A
Dated) June 3, 2019 AW} i
PENNY K. SANDHU

 
